Case No. 1:17-cr-00168-CMA       Document 100       filed 04/08/19   USDC Colorado          pg 1
                                          of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 17-cr-00168-CMA

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 KAREN MC CLAFLIN,

            Defendant.
 _____________________________________________________________________

    EMERGENCY MOTION TO STAY APRIL 9, 2019 SELF-SURRENDER ORDER
 _____________________________________________________________________

        Karen McClaflin, though counsel, moves to moves for a stay of execution of the

 self-surrender order. Given, Ms. McClaflin’s documented history of medical intervention

 and need for multi-week intravenous antibiotic injections from a PICC line, Ms. McClaflin

 moves to stay the April 9, 2019 self surrender order for 5-6 weeks. In support of this

 motion, Ms. McClaflin states the following:

        Ms. McClaflin has been ordered to surrender to the Federal Medical Center in

 Carswell, Texas.

        The Court has been apprised of Ms. McClaflin’s ongoing medical issues for at

 least the last year. The most threatening issue is the deep infection or infections that

 Ms. McClaflin has experienced which have caused surgeries to remove all remaining

 prosthetic devices from her hip leaving nothing to connect her thigh to her hip other than

 an exterior brace, and the return of the deep tissue infection that requires a combination

 of antibiotics to be administered intravenously.


                                               1
Case No. 1:17-cr-00168-CMA       Document 100       filed 04/08/19   USDC Colorado        pg 2
                                          of 3




        On March 18, 2019, at 2:28 p.m., Ms. McClaflin was checked into Porter

 Adventist Hospital and another surgery was performed. As her friend, Jessica Wulf

 stated, the hip infection returned “with a vengeance,” requiring Dr. Miner to perform

 surgery to clean out the infection as much as possible and replace the PICC line. Ms.

 Wulf also obtained the necessary medical records pertaining to the surgery, which

 counsel scanned and filed with the Court.

        Counsel also filed a report from Ms. Wulf that provided a detailed description of

 the events leading up to last week’s surgery. Given that description and the medical

 records from Dr. Miner’s office, it is clear that Ms. McClaflin remains in the same

 position she has been in since approximately May, 2018. The deep tissue infection as

 due to a combination a complex bacteria that continue to ravage her hip and threaten to

 spread. The infection once again required surgery and a PICC line to deliver very

 strong antibiotics which, while necessary to fight the infection, also have a damaging

 effect on her body.

        Counsel believes that it is necessary to inform the Court that this motion is being

 drafted from a room at the University of Colorado Hospital. On Saturday, April 6, 2019,

 Counsel’s 94 year old father fell while walking and suffered a break in his hip that

 requires surgery and partial hip replacement. The surgery, originally set for Sunday,

 April 7, 2019, was postponed to Monday, April 8, 2019. Counsel will provide the Court

 with as much additional information as the Court may require and counsel is able to

 provide under the circumstances.

        Counsel has also communicated with government counsel, Pegeen Rhyne, and

 is authorized to represent that the government takes no position on this motion.

                                              2
Case No. 1:17-cr-00168-CMA          Document 100     filed 04/08/19   USDC Colorado      pg 3
                                             of 3




       WHEREFORE, Ms. McClaflin moves stay the order of self-surrender for sufficient

 time to obtain the new medical records from Dr. Miner and to determine her current

 medical status and prognosis for the immediate future, and specifically moves this court

 to stay the order for 5-6 weeks.

                     Respectfully submitted,

                                                    s/ Thomas J. Hammond
                                                    Thomas J. Hammond
                                                    Thomas J. Hammond, P.C.
                                                    1544 Race Street
                                                    Denver, Colorado 80206
                                                    303-321-7902
                                                    Fax: (303)329-5871
                                                    Email: hammondlaw@solucian.com

                                                    Attorney for Karen McClaflin


                               CERTIFICATE OF SERVICE

        I hereby certify that April 8, 2019, I electronically filed the foregoing
 EMERGENCY MOTION TO STAY APRIL 9, 2019 SELF-SURRENDER ORDER with
 the Clerk of the Court using the CM/ECF filing system which will send notification of
 such filing to the appropriate parties.

 s/ Thomas J. Hammond
 Thomas J. Hammond




                                              3
